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 9                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
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                                               *****
11
      UNITED STATES OF AMERICA,                   Case No. 2:16-cr-00100-GMN-CWH
12
             Plaintiff,
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                                                  GOVERNMENT’S NOTICE OF INTENT TO CALL
             vs.                                  EXPERT WITNESS
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15    JAN ROUVEN FUECHTENER,

16                        Defendant.
     CERTIFICATION: This notice is timely filed.
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           The United States of America, by and through its attorneys, DANIEL G.
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     BOGDEN, United States Attorney, and Cristina D. Silva and Elham Roohani, Assistant
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     United States Attorneys, hereby gives notice of intent to call an expert witness regarding
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     computer forensic analysis, forensic examinations of digital devices, online investigations,
21 offender characteristics, relationships between offenders, and the language used by

22 offenders in communicating about child exploitation and corresponding drug use.

23           SUMMARY OF EXPERT WITNESS OPINION & QUALIFICATIONS
24         Pursuant to Rule 16 (a)(1)(G) of the Federal Rules of Criminal Procedure, the
25 Government gives notice of its intent to call Sergeant Dennis Carry of the Washoe County

26 Sheriff’s Office who is a former detective, and current sergeant and task force officer
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 1 assigned to the FBI’s Cyber Crime Task Force, and Internet Crimes Against Children

 2 Task Force in Northern Nevada. Sergeant Carry is trained in the investigation of crimes

 3 involving child abuse, sexual exploitation, and sexual crimes against children, as well as

 4 computer intrusion and hacking, cyber related fraud, and cyber terrorism.

 5        Pursuant to Rule 702 of the Federal Rules of Evidence, the Government intends to

 6 call Sergeant Carry to provide expert witness testimony regarding the investigation and

 7 subsequent evidentiary findings in this case.      Sergeant Carry also reviewed the data

 8 recovered from digital forensic examinations of the digital devices recovered in this case.

 9 As such, Sergeant Carry’s testimony will include general computer forensics, peer-to-peer

10 file sharing networks, on-line distribution and sharing of child pornography, and other

11 computer issues related to on-line child pornography investigations. Sergeant Carry is

12 also expected to provide expert testimony and explanations regarding the process for

13 downloading peer-to-peer file sharing programs, the set-up process, the sharing

14 capabilities and other aspects of these programs that will assist the jury in understanding

15 the computer technology at issue in this matter and how the defendant distributed,

16 received, and advertised child pornography. Additionally, Sergeant Carry is expected to

17 provide    expert   testimony   and   explanations    regarding   offender   characteristics,

18 relationships between offenders, and the language used by offenders in communicating

19 about child exploitation and corresponding drug use 1 on various social-networking and

20 social-media platforms.

21         All of the electronic devices seized from the Defendant and examined have been

22 made available to defense counsel. Sergeant Carry’s expert testimony will be based upon

23 his lengthy experience as a detective, sergeant, and task force officer working cases

24
    In the Ninth Circuit, “[d]rug jargon is well established as an appropriate subject for
     1

25 expert testimony. . . . Officers may testify about their interpretations of ‘commonly used
   drug jargon’ based solely on their training and experience.” United States v. Vera, 770
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   F.3d 1232, 1241 (9th Cir. 2014) (citations omitted).
                                                 2
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 1 involving internet crimes against children. Sergeant Carry’s curriculum vitae is attached

 2 to this notice as Exhibit “1”.

 3        Accordingly, the Government provides notice of its intent to call Sergeant Dennis

 4 Carry as an expert witness in the Government’s case in chief.

 5

 6 DATED this 28th day, June 2016

 7                                              Respectfully submitted,

 8                                              DANIEL G. BOGDEN
                                                United States Attorney
 9
                                                       //s//
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11                                              CRISTINA D. SILVA
                                                ELHAM ROOHANI
12                                              Assistant United States Attorneys
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                                      CERTIFICATE OF SERVICE
 1
           I, Elham Roohani, certify that defense counsel was served with a copy of the
 2

 3 GOVERNMENT’S NOTICE OF INTENT TO CALL EXPERT WITNESS on this date by the below

 4 identified method of service:

 5

 6
   Jess Marchese, Esq.
 7 Michael Sanft, Esq.
   Counsel for the Defendant
 8
   Electronic Case Filing
 9

10

11 DATE:          June 28, 2016

12                                                            //s//
                                                       ________________________________
13                                                     ELHAM ROOHANI
14                                                     Assistant United States Attorney

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